Case 19-80889-CRJ13   Doc 15    Filed 04/04/19 Entered 04/04/19 17:16:09   Desc Main
                               Document     Page 1 of 6
Case 19-80889-CRJ13   Doc 15    Filed 04/04/19 Entered 04/04/19 17:16:09   Desc Main
                               Document     Page 2 of 6
Case 19-80889-CRJ13   Doc 15    Filed 04/04/19 Entered 04/04/19 17:16:09   Desc Main
                               Document     Page 3 of 6
Case 19-80889-CRJ13   Doc 15    Filed 04/04/19 Entered 04/04/19 17:16:09   Desc Main
                               Document     Page 4 of 6
Case 19-80889-CRJ13   Doc 15    Filed 04/04/19 Entered 04/04/19 17:16:09   Desc Main
                               Document     Page 5 of 6
Case 19-80889-CRJ13   Doc 15    Filed 04/04/19 Entered 04/04/19 17:16:09   Desc Main
                               Document     Page 6 of 6
